     Case 2:25-cv-00765-MEMF-JPR            Document 36        Filed 04/18/25     Page 1 of 3 Page ID
                                                 #:689


 1     Arjun Vasan
 2     12615 193rd Street
 3     Cerritos, CA 90703
 4     (562) 900-6541
 5     arjun.vasan@gmail.com
 6     Plaintiff In Pro Per
 7
 8
                                     UNITED STATES DISTRICT COURT
 9
                                   CENTRAL DISTRICT OF CALIFORNIA
10
11                                                        Case No.: 2:25-CV-00765-MEMF-JPR
       ARJUN VASAN,
12
                                     Plaintiff,
13                                                       NOTICE OF WITHDRAWAL OF EX-
                      v.
                                                         PARTE APPLICATION FOR PROTECTIVE
14
                                                         ORDER; CERTIFICATE OF SERVICE
15     CHECKMATE.COM, INC
16     (dba “Checkmate”),
                                                           Complaint Filed: January 28th, 2025
17                                   Defendant.
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       TO THE HONORABLE COURT:
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25            Plaintiff hereby withdraws his Ex Parte Application for a Protective Order (Dkt. 34), an
26     inadvertent filing. He will refile the same request as a noticed motion under Federal Rule of Civil
27     Procedure 26(c).
28


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     Case 2:25-cv-00765-MEMF-JPR       Document 36   Filed 04/18/25     Page 2 of 3 Page ID
                                            #:690


 1
 2
 3                                                       Respectfully Submitted,
 4
 5
 6     Dated: Friday, April 18, 2025
                                                        Arjun Vasan
                                                         _________________________________
 7                                                       Arjun Vasan
 8                                                       Plaintiff In Pro Per
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     Case 2:25-cv-00765-MEMF-JPR          Document 36      Filed 04/18/25    Page 3 of 3 Page ID
                                               #:691

                                       CERTIFICATE OF SERVICE
 1
 2
 3     I hereby certify that on April 18, 2025, I electronically filed the foregoing NOTICE OF
       WITHDRAWAL OF EX PARTE APPLICATION FOR PROTECTIVE ORDER with the Clerk of
 4     Court using the CM/ECF system, which will serve notice on all counsel of record registered for
       electronic service. I further certify that I emailed a copy of the same to:
 5
 6      • Gabriel M. Huey (gabriel.huey@klgates.com)

 7      • Stacey Chiu (stacey.chiu@klgates.com)
 8
 9
       Dated: April 18, 2025
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